                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                           NORTHERN DISTRICT OF IOWA


 IN RE:                                          Chapter 11
                                                 Case No. 18-01297
 VEROBLUE FARMS USA, INC., et al.,
                                                 EXHIBIT A: DEBTORS’ AMENDED
                   DEBTORS.                      ADVERSARY COMPLAINT




 VEROBLUE FARMS USA, INC., et al.,
                                                 Adversary No. 19-09015
                  PLAINTIFFS

                        vs.

 CASSELS BROCK & BLACKWELL LLP

                DEFENDANTS.



       Plaintiff, VeroBlue Farms USA, Inc., has served Exhibit A: Debtor’s Amended

Adversary Complaint to the attorneys of record for the Defendants via email.

       Plaintiffs will file their Amended Adversary Complaint if and when the order is approved

and, if appropriate, under seal.

Dated: September ______, 2019



                                            Respectfully submitted,


                                            ELDERKIN & PIRNIE, P.L.C.
/s/ Dan Childers                         .
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